CaS€ 8-16-74455-&8'[ DOC 27 Filed 01/12/17 Entei’ed 01/12/17 18245:18

F||i in this information to identify your case:

Debtor1 Anthon},ll Ross
Flrs\Name ' " ` MiaeleNe-m _ ' Eememe' " `

Deblor 2
(Spouse t‘_ titlng) F rst Narne Mioote Neme Last Neme

 

United Slates Bankruplcy Coun for the: EASTERNESTR|CT OF NEW YORK_ _

 

 

 

Case number 8-16-74455 g

01 known Check il this is an

, _ amended filing
Ofl`lcia| Form 108

Statement of intention for individuals Fi|ing Under Chapter 7 wis

 

ll you are an individual filing under chapter 7, you must till out this form li:
l creditors have claims secured by your property. or

l you have leased personal property and the lease has not explred.

‘lou must file this term with the court within 30 days after you file your bankruptcy petition or by the date set ior the meeting of crediters,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the iorrn

ll two married people are filing together in a joint case. both are equally responsible ior supplying correct lnlormatlon. Both debtors must
sign and date the lorm.

Be as complete and accurate as possible. |f more space is needed, attach a separate sheet to this ion'n. On the top of any additional pages,
write your name and case number ill known).

Llst Your Credltors Who Have Secured Clalrns

1. For any creditors that you listed in Part 1 of Schedu|e D: Creditors Who Have Claims Secured by Property (Officiai Form1060), lill in the
infonnatlon beiow.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s Nationstar Mortgage E| Surrender the property l:l No
name Cl Reia|n the property and redeem it.
l Retaln the properly and enter '.nto a l YES

oescliption cl 5725 Cape Cod Lane Lithonla,
property GA 30038 DeKalb County

securing debt:

Reaffinnation Agreemeni.
C] Retain the property end [expiain]:

 

 

Creclllor's Rushmore Loan Mgmt Servic l Surrende, me property l No
hamel l:l Retain the property and redeem it.

_ l:l Retain the property and enterinio a m Yes
Descnption el 20 |ngrahm Lane Hempstead, Reafrinnerion Agreement.
PFOP€FW NY 11550 NaSSaU C°u“ty l:l Reialn the properly end |explain|'

securing debt residence in foreclosure

C'ed“°"$ We"$ Fal'§° |:l Surrender the property l:l No
name` E| Relain the property and redeem it.
l Reta'n the property and enter ;nto a . YES

Descrlpt|on of 2008 Cadillac Esca|ade 98000 Ream-,ma"~on Ag,,eemem_
property miles E] Retain the property and [explain];

Oflicial Forrn 108 Statement of intention for individuals Fl|lng Unrier Chapter? page 1

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Deblor 1 Anthony Ross

securing debi:

Case number annum 3-15-74455

Llst Y°".r U_r'msnlr:¢_¢ Pv_rseea_l_Prs>Psey l-°_v_sss . _
For any unexpired personal property lease that you listed |n Schedule G: Executory Contracts and Unexplred Leases tOtflcial Forrn 1066|. fill
in the |nlom\ation below. Do not list real estate ieases. Unexp|red leases are leases that are still ln effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p}(2).

Descr|be your unexpired personal property leases Will the lease he assumed?

Lessor‘s name
Descriplion oi leased
Properly:

Lessor's name

Descriplion of leased
Properly:

Lessor's name
Description of leased
Properly:

Lessor's name:
Description of leased
Property:

Lesso¢'s name.
Descn'ption ol leased
Property:

Lessor‘s name'

Descriptlon of leased
Properiy:

Lessor's name:
Descriptlon ol leased
Property:

sign saw

El No
l:l ‘(es
l:l No
l:l Yes
l:l No
l:l Yes
U No
L_.l Yes
|:I No
EI Yes
l:l No
l:l Yes
|:l No

El Yes

Under penalty of perjury. l declare that l have indicated my intention about any property ol my estate that secures a debt and any personal
property that ls sub]ect to an unexpired lease.

X isl‘ Anthony Ross
Anthony Ross
Signalure ol Deblor 1

Date January 11, 2017

Oiiicial Form 108

X .
Signature ol Debtor 2

Date

Statement ot intention for individuals Fi|ing Under Chapter 7 page 2

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